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 5
 6                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,                    )
                                                )
 9              Plaintiff,                      )       CR-08-0137-WFN-36
                                                )
10           vs.                                )
                                                )
11 JESUS GUILLERMO BUENO-
   MARTINEZ,
                                                )
                                                )
                                                        Final Order of Forfeiture

12                                              )
                Defendant.                      )
13
             WHEREAS, on June 30, 2009, the Court entered a Preliminary Order of
14
     Forfeiture, pursuant to the provisions of 21 U.S.C. § 853, preliminarily forfeiting to
15
     the United States the following:
16
                        $190,249.98 U.S. currency seized on or about October 1,
17                      2008.
18           WHEREAS Defendant JESUS GUILLERMO BUENO-MARTINEZ’s interest
19 in the currency described above was forfeited to the United States pursuant to the plea
20 agreement and judgment filed herein.
21           WHEREAS, 21 U.S.C. § 853(n) and Fed. R. Crim. P. 32.2, require the
22 resolution of all third-party claims to the property in the final order of forfeiture.
23       Notice of Criminal Forfeiture was posted on an official government internet
24 site (www.forfeiture.gov) for at least 30 consecutive days, beginning on May 20,
25 2010, as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or
26 Maritime Claims and Asset Forfeiture Actions, as incorporated by 21 U.S.C. §
27 853(n). At the latest, the claim period expired on July 19, 2010. To date, no claims
28 have been filed.

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 1           IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED, that the
 2 $190,249.98 U.S. currency is hereby forfeited to the United States, and no interest
 3 exists in any other person;
 4           IT IS FURTHER ORDERED that the United States Marshals Service shall
 5 dispose of the funds in accordance with law.
 6           ORDERED this 22nd day of July, 2010.
 7
 8                                         s/ Wm. Fremming Nielsen
                                           Wm. Fremming Nielsen
 9                                         Senior United States District Judge
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     Final Order of Forfeiture -2-
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